       Case 1:17-cr-00046-RBW Document 239-9 Filed 07/15/19 Page 1 of 2




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        Case 1:17-cr-00046-RBW Document 239-9 Filed 07/15/19 Page 2 of 2



Dear Judge Walton,

       My name is Hashem Mahmud Bazoun, I am 64 years old and I am the childhood friend of Kassim
Tajideen.

Kassim and I are friends since the late 60s early 70s. We used to look for random jobs together, anything
that would make us money. We would go to random hotels together with 15 persons per room and
sometimes even sleep in the Garden in el-Burj Square in Beirut until the police would wake us up to
leave.

From a young age, Kassim had the ambition to travel abroad and be self-dependent. He worked very
hard to get where he is. He was always very focused and practical and instead of chasing girls or other
distractions, he would focus on work in order to satisfy his ambition.

Kassim is a moral person who stood up for what he believed in. For example, when we were young
Kassim and I went with a friend to a fruit plantation to pick and eat ripe fruits. In those days, plantations
were natural, rarely would the owner add water or fertilizer, merely picking the fruits when they were
ripe for harvest. Our friend told us that the plantation belonged to his father, when in reality, we had
long wandered into the neighbor’s plantation. When Kassim found out, he no longer picked fruit and
told us it was wrong before leaving us there.

Kassim is a person who loves to help people. Many times in my life, he helped me by providing me with
jobs, always asking me how I am doing and what I needed. His way of helping me was by helping me
catch the fish instead of giving me the fish, so to speak. Kassim would help people that have wronged
him in the past. He is very forgiving.



With all respect,

Hashem Mahmud Bazoun

[Signature]

Dated 22/5/2019
